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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 __________________________________

 UNITED STATES OF AMERICA


                 V.                                              20-CR-521 (CM)
                                                            SCHEDULING ORDER
 JAMES CAHILL, et. al.,

                           Defendants.
______________________________________

 McMahon, C.J.:


        The Court will hold a remote status conference in this matter, Thursday, March 11,

 2021, at 3:30 p.m.

        The public and press may listen to the proceeding by telephone at: 888-363-4749;

 the access code to enter when prompted is 9054506.

 March 5, 2020



                                                      Colleen McMahon
                                                       Chief Judge
